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  8
                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BERNHARD KÜHMSTEDT, an                             Case No.: 2:21-cv-10032-SVW-JEM
                                                         Hon. Stephen V. Wilson Presiding
 12   individual,

 13                                                      PLAINTIFF’S OPPOSITION TO
      Plaintiff,
                                                         DEFENDANT’S MOTION TO
 14                                                      DISMISS; REQUEST FOR
      v.
 15                                                      SANCTIONS PURSUANT TO 28
                                                         U.S.C. 1927; AND LEAVE TO
 16   ENTTECH MEDIA GROUP, LLC, a
                                                         AMEND
      Delaware limited liability company d/b/a
 17   “PAPERMAG.COM”; and DOES 1-10,
                                               [Declaration of Frank R. Trechsel
 18   inclusive,
                                               filed concurrently herewith]
 19
                                                     Hearing Date: April 11, 2022
 20   Defendants.
                                                     Time:        1:30 pm
 21                                                  Place:       350 W. 1st Street
                                                                  Courtroom 10A
 22
                                                                  Los Angeles, CA 90012
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 28                                                  i
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  1       I. INTRODUCTION
  2         This is a clear case of willful copyright infringement. Defendant, Enttech
  3   Media Group, LLC (“Enttech”) cannot credibly rebut Plaintiff, Bernard Kuhmstedt’s,
  4   allegations that Enttech copied and displayed Kuhmstedt’s original photograph
  5   without his consent on its commercial website. Knowing it lacks any defenses,
  6   Enttech has instead engaged in a bizarre and unprofessional campaign of harassment
  7   and filed the instant motion, which is meritless, to prolong the litigation.
  8         Not only should this motion be denied, but Enttech should be admonished for
  9   its conduct in this matter. Enttech’s arguments are objectively frivolous, and it
 10   entirely failed to meet and confer regarding the alleged deficiencies with Kuhmstedt’s
 11   secondary liability claims and his claim for violation of the Digital Millennium
 12   Copyright Act (“DMCA”) 17 U.S.C. § 1202. Instead, Enttech’s counsel harassed
 13   Kuhmstedt’s counsel with baseless and unsupported personal attacks, and then filed
 14   this frivolous motion unreasonably and vexatiously increasing the time and expense
 15   of this litigation in violation of 28 U.S.C. § 1927.1
 16         Kuhmstedt has sufficiently alleged claims for Copyright Infringement,
 17   Vicarious and/or Contributory Copyright Infringement, and Violation of DMCA 17
 18   U.S.C. § 1202 in his Complaint. Therefore, Enttech’s motion must be denied, and
 19   sanctions imposed pursuant to 28 U.S.C. § 1927.
 20       II. LEGAL STANDARD
 21
 22
      1
 23     A review of the dockets reveals that over the last seven years, Enttech’s law firm,
      Tauler Smith, has handled only four copyright cases, all on behalf of Enttech. In at
 24   least one other case, the firm’s conduct was called into question, with the Court
 25   “order[ing] ENTTech to show cause regarding sanctions under Rule 11.”
      ENTTech Media Grp. LLC v. Okularity, Inc., No. 2:20-CV-06298-JWH-EX, 2021
 26   WL 916307, at *2 (C.D. Cal. Mar. 10, 2021). This record further indicates the need
 27   for sanctions here.

 28                                                1
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  1         To survive a motion to dismiss, a complaint must contain merely a “short and
  2   plain statement of the claim showing that the pleader is entitled to relief.” Ashcroft v.
  3   Iqbal, 129 S. Ct. 1937 (2009) (quoting Fed. R. Civ. P. § 8(a)(2)). Detailed factual
  4   allegations are not required. Id. In deciding a motion to dismiss, all material
  5   allegations of the complaint are taken as true, and all reasonable inferences are drawn
  6   in Plaintiff’s favor. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 338 (9th Cir. 1996).
  7      III.   ARGUMENT
  8      A. Kuhmstedt pleads ownership and registration of a valid copyright
  9         Kuhmstedt has properly pled creation and ownership of the photograph of
 10   famed musician Janet Jackson that is the subject of this litigation (“Subject
 11   Photograph”). Dkt. 1-Complaint (“Comp.”) ¶ 9. He likewise alleges “[t]he Subject
 12   Photograph is registered with the U.S. Copyright Office.” Comp. ¶ 11. And he
 13   provides a screenshot exemplar of Defendant Enttech Media Group, LLC’s
 14   (“Enttech”) unauthorized display of the Subject Photograph. Comp. ¶ 13, Ex. B.
 15   Thus, he has properly stated a claim for infringement.
 16         Enttech’s contention that Kuhmstedt does not adequately allege he registered
 17   the Subject Photograph “is belied by the complaint, in which the [plaintiff] explicitly
 18   alleges that it owns [and registered] the copyright….” Kourtis v. Cameron, 419 F.3d
 19   989, 999 (9th Cir. 2005) abrogated on other grounds by Taylor v. Sturgell, 553 U.S.
 20   880, 128 S. Ct. 2161, 171 L. Ed. 2d 155 (2008). Kuhmstedt alleges in paragraph 11
 21   of the Complaint that he registered the Subject Photograph. Comp. ¶ 11. This
 22   allegation is likewise sufficient to show Kuhmstedt abided by and complied with the
 23   formalities of registration since he received one.
 24         Importantly, while a copyright registration is required to bring a lawsuit for
 25   copyright infringement, it is not required that a plaintiff identify the registration
 26   number or attach a deposit copy or certificate. To the contrary, “it would be
 27   inappropriate for the Court to require production of the relevant certificates of
 28                                                2
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  1   incorporation at this preliminary stage of the litigation. Warren v. John Wiley & Sons,
  2   Inc., 952 F. Supp. 2d 610, 617 (S.D.N.Y. 2013), citing Palmer Kane LLC v.
  3   Scholastic Corp., No. 12 Civ. 3890, 2013 WL 709276, at *3 (S.D.N.Y. Feb. 27,
  4   2013) (“The complaint properly alleges that the copyrights have been registered in
  5   stating that the copyrights ‘that are the subject of this action have been registered
  6   with the United States Copyright Office.’”). Thus, and “[c]ontrary to defendants'
  7   contentions, the complaint is not required to attach copies of registration certificates
  8   or provide registration numbers for all of the copyrights at issue in order to survive a
  9   motion to dismiss.” Id.; see also Hybrid Promotions, LLC v. Zaslavsky, No. CV 16-
 10   02227-RAO, 2016 WL 10988656, at *10 (C.D. Cal. Oct. 5, 2016) (“the failure to
 11   include the registration] is not fatal at the FRCP 12(b)(6) stage”).
 12         In its Motion, Enttech invents this legal requirement without citing any
 13   authority to support its position.2 Enttech’s position is not only wrong but also
 14   proffered in bad faith. During the meet and confer over this motion, Kuhmstedt
 15   provided Enttech with the registration number for the Subject Photograph and
 16   Enttech’s counsel reviewed the entry for that number on the Copyright Office website
 17   and provided Kuhmstedt’s counsel with a screenshot of the registration via email.
 18   Declaration of Frank R. Trechsel (“Trechsel Decl.”) ¶2, Ex. 1. Enttech knows full
 19   well Kuhmstedt’s allegation that he registered the Subject Photograph is accurate and
 20   supported by evidence. Enttech’s unsupportable argument that Kuhmstedt did not
 21   properly allege copyright registration is thus a gross waste of the Court’s (and the
 22   parties’) resources. Kuhmstedt meets the pleading requirement for registration and
 23   Enttech’s motion should be denied.
 24
 25   2
        Although not required as part of the Complaint, the registration number covering
 26   the work at issue was produced to the Court and Defendant as part of the AO-121
 27   form that Kuhmstedt filed concurrently with the Complaint. Dkt. 4.

 28                                                3
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  1       B. Kuhmstedt’s claims are timely
  2         Per the discovery rule and binding Ninth Circuit precedent, Kuhmstedt may
  3   seek damages related to the entirety of the infringement at issue. Enttech cannot
  4   establish, especially at the pleading stage, that the statute of limitations bars claims
  5   for damages related to its exploitation of the Subject Photograph.
  6      1. The discovery rule applies
  7         Although the statute of limitations for a copyright infringement claim is three
  8   years, a claim does not “accrue” for purposes of the statute limitations until the
  9   copyright holder discovers, or reasonably should have discovered, the claim. Polar
 10   Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 706 (9th Cir. 2004), as amended on
 11   denial of reh'g and reh'g en banc (Oct. 25, 2004), opinion amended on denial of
 12   reh'g, No. 03-35188, 2004 WL 2376507 (9th Cir. Oct. 25, 2004)(section 507(b)’s
 13   “statute of limitations does not prohibit recovery of damages incurred more than three
 14   years prior to the filing of suit if [1] the copyright plaintiff was unaware of the
 15   infringement, and [2] that lack of knowledge was reasonable under the
 16   circumstances.”). The “discovery rule,” as it is termed, allows a copyright holder to
 17   seek damages for the entirety of the infringement so long as they file their claim
 18   within three years of the claim’s discovery. Id.
 19         At the pleadings stage, a copyright claim can only be dismissed as untimely
 20   where it is “beyond doubt that the plaintiff can prove no set of facts that would
 21   establish the timeliness of the claim.” Syed, 853 F.3d at 507, citing Supermail Cargo,
 22   Inc. v. United States, 68 F.3d 1204, 1207 (9th Cir. 1995). This Court has concluded in
 23   the past that there is “a high hurdle for asserting statute of limitations defenses at the
 24   [Motion to Dismiss] stage.” Flores v. Gain Capital Grp., LLC, No. CV 17-7873-
 25   DMG (EX), 2018 WL 7501120, at *3 (C.D. Cal. Dec. 21, 2018)(denying motion).
 26   Enttech fails to clear this hurdle.
 27
 28                                                 4
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  1         Enttech’s motion falls far short of demonstrating “beyond doubt” Kuhmstedt’s
  2   Complaint facially establishes that he discovered, or should have discovered, any of
  3   the infringing conduct at issue before December 30, 2018. Id. This, of course, is
  4   because nothing in the Complaint even suggests that Kuhmstedt discovered or
  5   reasonably could have discovered the infringement more than 3 years prior to filing
  6   suit. Kuhmstedt’s cease and desist letter is dated September 13, 2021, only three
  7   months before he filed the instant litigation. Comp. ¶ 16. The screenshot of Enttech’s
  8   infringement was likewise taken on September 13, 2021, evidencing that at least as of
  9   September 2021 Enttech’s infringement continued and fell within three years of
 10   Kuhmstedt filing his Complaint, and his discovery at that time was reasonable.
 11         Enttech’s allegation that Kuhmstedt’s causes of action are barred by the statute
 12   of limitations were discussed and soundly dispelled during meet and confer efforts
 13   regarding the instant motion. Trechsel Decl. ¶3, Ex. 1. When the parties met and
 14   conferred over Enttech’s “statute of limitations” challenge, Enttech relied solely on a
 15   district court opinion, Grecco, that Kuhmstedt’s counsel advised had been reversed
 16   by the Ninth Circuit on appeal. See Michael Grecco Prods., Inc. v. BDG Media, Inc.,
 17   834 F. App’x 353, 354 (9th Cir. 2021)(“The district court erred in holding that
 18   Grecco’s claim based on the Flashlight Photo was time-barred. Copyright
 19   infringement claims must be “commenced within three years after the claim
 20   accrued,” which occurs “when a party discovers, or reasonably should have
 21   discovered, the alleged infringement.”), citing 17 U.S.C. § 507(b); Oracle Am., Inc. v.
 22   Hewlett Packard Enter. Co., 971 F.3d 1042, 1047 (9th Cir. 2020)
 23         Enttech, when informed that the only support for its motion had been reversed
 24   on appeal, responded with a baseless insinuation that Kuhmstedt’s complaint is
 25   somehow made in bad faith. Trechsel Decl. ¶3, Ex. 1. To the contrary, it is Enttech
 26   that has run afoul of the rules by filing a motion it knows not to be supported by the
 27   law or a reasonable extension of the law. Enttech, in urging this Court to adopt a
 28                                               5
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  1   position that contravenes established Ninth Circuit law, has exposed itself to
  2   sanction. It is not free to come before this Court advocating positions entirely
  3   untethered to any colorable authority. This motion should be denied, and Enttech
  4   should be admonished for again wasting the Court’s time and resources.
  5      2. The Complaint’s allegations do not establish that the statute of limitations
  6         precludes any claims.
  7         Enttech asks the Court to presume, based on the 2021 Complaint’s assertions,
  8   the date on which Kuhmstedt knew or should have known about Enttech’s infringing
  9   content. Motion, p. 4 at 12-20. But presumptions at this stage must favor Kuhmstedt
 10   and there is simply no evidence or allegation that Kuhmstedt knew of the
 11   infringement at issue more than three years before the Complaint’s filing. And in
 12   copyright actions “[p]laintiffs are not required to specify each and every instance of
 13   infringement” nor “identify the times, similarities, or other details of the alleged
 14   infringements in their pleadings[.]” Marvel Enterprises, Inc. v. NCSoft Corp., No. CV
 15   04-9253RGKPLAX, 2005 WL 878090, at *2 (C.D. Cal. Mar. 9, 2005) (denying
 16   motion to dismiss).
 17         This notwithstanding, Enttech goes outside of the four corners of the
 18   Complaint and without a request for judicial notice or supporting declaration
 19   unjustifiably introduces evidence of Kuhmstedt’s litigation history as the reason why
 20   no reasonable court could conclude that Kuhmstedt’s lack of knowledge was
 21   reasonable under the circumstances. Enttech cites to Free Speech Systems, LLC v.
 22   Menzel, to support its position, but that case supports Kuhmstedt. There, the court
 23   “ignore[ed] the extra-judicial facts asserted by [Free Speech Systems] and
 24   considering only the alleged or admitted facts” found that “[Menzel’s] pleadings d[id]
 25   not establish as a matter of law that his delay in filing suit was unreasonable.” 390
 26   F.Supp.3d 1162, 1170 (N.D. Cal. 2019). The court should do the same thing here.
 27   Enttech’s extra-judicial facts should be ignored, and adjudication of the date of
 28                                                6
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  1   Kuhmstedt’s knowledge of Enttech’s infringement must be adjudicated at a later
  2   stage. The motion thus fails.
  3      3. Kuhmstedt was not required to constantly police his work
  4         Enttech avers Kuhmstedt was obligated to police his work—an assertion that
  5   not only transcends the four corners of the Complaint but is simply false. Copyright
  6   owners “do not have a general duty to police their copyrights.” PK Music
  7   Performance, Inc. v. Timberlake, No. 16-CV-1215 (VSB), 2018 WL 4759737, at *8
  8   (S.D.N.Y. Sept. 30, 2018) citing Wilson v. Dynatone Publ’g Co., 892 F.3d 112, 119
  9   (2d Cir.), reh’g denied, 908 F.3d 843 (2d Cir. 2018); H. M. Kolbe Co. v. Armgus
 10   Textile Co., 315 F.2d 70, 74 (2d Cir. 1963) (holding that copyright owner has no
 11   affirmative duty to police subsequent distributions of his own product); Design
 12   Basics, LLC v. Chelsea Lumber Co., 977 F. Supp. 2d 714, 725 (E.D. Mich.
 13   2013) (“The Court ... rejects [d]efendants' argument that [p]laintiff was under a
 14   continuous duty to police its copyright[….] [I]t would be unreasonably burdensome
 15   to impose on a copyright owner a never ending obligation to discover whether
 16   anyone to whom he ever supplied his copyrighted material would copy it.”) (internal
 17   quotations omitted). Kuhmstedt was not required to scour the internet for posts and
 18   publications of his works on websites by infringers to ensure that Enttech was not
 19   infringing on his work.
 20         Kuhmstedt, an individual photographer, cannot reasonably be charged with
 21   knowledge of all posts, articles, and publications across the entire internet as they are
 22   made in real time. The facts concerning when and how Kuhmstedt discovered the
 23   infringing publication of the Subject Photograph will be properly ventilated in
 24   discovery, and a determination on the appropriate accrual for copyright infringement
 25   claims as to the infringing publication cannot be made as a matter of law at this stage.
 26   Whether the timing of Kuhmstedt’s discovery of the infringements at issue here was
 27   reasonable is an issue of fact that cannot be determined in Enttech’s favor now. See,
 28                                                  7
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  1   e.g., Solo v. Dawson, No. CV0905623MMMRCX, 2010 WL 11508000, at *14–16
  2   (C.D. Cal. Feb. 8, 2010), BMG Rights Mgmt. (US) LLC v. Glob. Eagle Entm't Inc.,
  3   No. 218CV03723VAPJEMX, 2019 WL 4544424, at *4 (C.D. Cal. Aug. 20, 2019),
  4   Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1170–71 (N.D. Cal. 2019);
  5   see also, Judd v. Weinstein, No. CV185724PSGFFMX, 2018 WL 7448914, at *4
  6   (C.D. Cal. Sept. 19, 2018)(“Courts do not resolve factual issues like [whether a
  7   plaintiff’s discovery of a cause of action was reasonable] on a motion to dismiss”).
  8         Again, a claim can only be dismissed as untimely at the pleadings stage where
  9   it is “beyond doubt that the plaintiff can prove no set of facts that would establish the
 10   timeliness of the claim.” Syed, 853 F.3d at 507, citing Supermail Cargo, Inc., 68 F.3d
 11   at 1207. Because there is nothing in the Complaint to demonstrate “beyond doubt”
 12   that Enttech will prevail on their statute of limitations defense. The motion fails.
 13      C. The Complaint sufficiently alleges Enttech’s secondary liability for
 14         infringing the copyrights in the Subject Photograph
 15         Enttech’s challenge to Kuhmstedt’s secondary liability claims fail because (1)
 16   Enttech failed to comply with this Court’s L.R. 7-3 with respect to those arguments,
 17   and (2) they are sufficiently pled.
 18         The failure to comply with L.R. 7-3 may result in the striking or denial of the
 19   motion. James R. Glidewell Dental Ceramics, Inc. v. Philadelphia Indem. Ins. Co.,
 20   No. CV-16-01155, 2016 WL 9223782, at *1 (C.D. Cal. Sept. 12, 2016); see also
 21   Access Ins. Co. v. Peralta, No. CV15622, 2015 WL 13036938, at *1 (C.D. Cal. Oct.
 22   13, 2015) (striking motion for failure to satisfy L.R. 7-3); Unicorn Glob., Inc. v. Hillo
 23   Am., Inc., No. CV-1903028, 2021 WL 1034838, at *1–4 (C.D. Cal. Feb. 12, 2021)
 24   (denying motion because two emails sent prior to filing “f[ell] well short of”
 25   satisfying L.R.7-3); Edmond v. City of Los Angeles, No. 2:20-CV-06636, 2021 WL
 26   6102474, at *1–2 (C.D. Cal. Sept. 23, 2021) (denying motion because contacting
 27   opposing counsel “only four days before the deadline” and “providing a two-sentence
 28                                                8
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  1   summary” of intended arguments failed to satisfy L.R. 7-3). The purpose of Local
  2   Rule 7-3 is not merely to provide notice of a pending motion, but to encourage parties
  3   to discuss their respective positions and identify any common ground. This is an
  4   essential step to conserve limited judicial resources. See, Cerelux Ltd. v. Yue Shao,
  5   2017 WL 4769459, *1 (C.D. Cal. June 9, 2017) (explaining that “[t]he meet-and-
  6   confer requirements of Local Rule 7-3 assists in promoting the resolution of disputes
  7   without requiring the intervention of the Court” and “provid[es] the opposing party
  8   sufficient notice as to the contents of a proposed motion and an opportunity to
  9   negotiate on the hearing date”). Enttech failure to raise the alleged defects with
 10   Kuhmstedt’s secondary liability claims or DMCA 1202 claims during its meet and
 11   confer communications, prevented any discussion towards a resolution.
 12         Enttech does not bother to support its representations as to the parties’ pre-
 13   Motion communications with a declaration from either Enttech or its counsel. Motion
 14   p. i at 11-12. Counsel for Enttech did confer with Kuhmstedt’s counsel Frank R.
 15   Trechsel telephonically and via email, but any perceived defects in Kuhmstedt’s
 16   secondary liability claims or his 17 U.S.C. § 1202 claims were not discussed.
 17   Trechsel Decl. Trechsel Decl. ¶1. Following the call, Enttech’s meet and confer
 18   efforts consisted largely of highly unprofessional personal attacks regarding
 19   Kuhmstedt’s efforts to protect his copyrighted works from infringement. Trechsel
 20   Decl. Trechsel Decl. ¶1-4, Ex. 1, 2. Enttech’s counsel’s conduct failed to satisfy the
 21   requirements of Local Rule 7-3, and certainly were not aimed to promote resolution.
 22   Exemplars of Enttech’s counsel’s personal attacks and baseless legal positions (rather
 23   than attempts at resolution) are below:
 24         1: “I want you to know that I will make sure to embarrass you personally,
 25   Frank, if you move forward with this case. Your name will always be associated with
 26   this case for your whole career. I know the owner of the business Scott doesn’t care
 27   because he is already made and about to retire. He doesn’t care about your career, but
 28                                                9
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  1   trust me this isn’t what you want to do with your career. This case is embarrassing to
  2   file and you don’t want your name associated with it for life, Frank.”
  3         2: “If I need to work on this any more I will gag. Can you confirm that you will
  4   dismiss this dumpster fire?”
  5         3: “Frank, I am distributed that you didn’t accept my offer for a walk away.
  6   Scott doesn’t care about your career. He goes through associated like tissue paper.
  7   You don’t want to be on this docket three years from now. It will haunt you. Take the
  8   walk away while you still can. It’s the best thing for your life and career, trust me.”
  9         4: Addressed to Scott Alan Burroughs – “Honestly, take the walk away if you
 10   can’t handle some tough talk. If you are such a wimp you need to tell your mommy I
 11   ruffled your feathers, then it will only confirm what I already know – you are just a
 12   liiiiiiitle kitty cat underneath all that cashmere.”
 13         5: “Honestly, this case does not appear to advance or promote any legitimate
 14   artistic expression whatsoever, and it doesn’t appear that any effort is even made to
 15   put any lipstick on the pig. Can you at least pretend this case is legitimate?”
 16         Trechsel Decl. ¶¶2-4, Exhs. 1-2.
 17         This abhorrent behavior goes beyond “zealous representation” and constitutes
 18   harassment and a breach of this Court’s Civility Guidelines, which prohibits counsel
 19   from acting “in an abusive manner or indulging] in any offensive conduct” when
 20   communicating with adverse counsel. See Section B(1), at https://www.cacd.uscourts
 21   .gov/attorneys/admissions/civility-and-professionalism-guidelines#Lawyer's
 22   %20Duties%20to%20Other%20Counsel (last visited March 21, 2022).
 23   While Enttech’s counsel’s offensive phone calls and emails ran afoul of the Civility
 24   Guidelines, they certainly did not mention Kuhmstedt’s secondary liability claims, or
 25   his claims based on 17 U.S.C. § 1202. Enttech has thus failed to satisfy its obligations
 26   under L.R. 7-3. So owing, this court should strike (or deny with prejudice) Enttech’s
 27   arguments as to Kuhmstedt’s secondary liability claims and DMCA claims. See
 28                                                10
                               OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1   Jackson v. Jonwill LLC, No. 2:20-CV-00883, 2021 WL 5015632, at *1–2 (C.D. Cal.
  2   Feb. 25, 2021).
  3         Should this Court consider Enttech’s challenge to Kuhmstedt’s secondary
  4   liability claims notwithstanding Enttech’s failure to meet and confer (not to mention
  5   its failure to act with appropriate professionalism and civility), it should still deny this
  6   motion However, even if the court considers those arguments, they still fail because
  7   Kuhmstedt sufficiently alleged secondary infringement.
  8         A defendant “contributorily infringes when he (1) has knowledge of another’s
  9   infringement and (2) either (a) materially contributes to or (b) induces that
 10   infringement.” Perfect 10, Inc. v. Visa Int'l Serv. Ass'n, 494 F.3d 788, 795 (9th Cir.
 11   2007). Here, Kuhmstedt pleads that Enttech “knowingly induced, participated in,
 12   aided and abetted in and profited from the illegal reproduction and distribution of the
 13   Subject Photograph as alleged hereinabove” Comp. ¶ 25. These allegations plausibly
 14   plead that Enttech had knowledge of other affiliate media companies’ own acts of
 15   infringement and contributed to or induced those acts. And since information
 16   regarding these other potential infringements is “particularly within” the possession
 17   of Enttech, plaintiff need not further plead such facts. Friedman v. Live Nation
 18   Merch., Inc., 833 F.3d 1180, 1189 (9th Cir. 2016). This rule “accords with ... our
 19   general precedent that fairness dictates that a litigant ought not have the burden of
 20   proof with respect to facts particularly within the knowledge of the opposing party.”
 21   Id. quoting Adobe Systems Inc. v. Christenson, 809 F.3d 1071, 1079 (9th Cir. 2015).
 22   Kuhmstedt’s allegations are sufficient at this stage of litigation.
 23         A defendant vicariously infringes a copyright when he “derive[s] a direct
 24   financial benefit from the infringement and ha[s] the right and ability to supervise the
 25   infringing activity.” Ellison v. Robertson, 357 F.3d 1072, 1078 (9th Cir. 2004). Here,
 26   Kuhmstedt alleges that Enttech “had the right and ability to supervise the infringing
 27   conduct and because they had a direct financial interest in the infringing conduct.”
 28                                                11
                              OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1   Comp. ¶ 26. Kuhmstedt named Doe defendants in the Complaint as parties “not yet
  2   identified who have infringed Plaintiff’s copyrights, have contributed to the
  3   infringement of Plaintiff’s copyrights, or have engaged in one or more of the
  4   wrongful practices alleged herein.” Comp. ¶ 6. Knowledge regarding third parties
  5   who have infringed Kuhmstedt’s copyrights at the behest or for the benefit of Enttech
  6   is exclusively within Enttech’s possession, and therefore, Kuhmstedt is not
  7   responsible for alleging facts that are particularly within the Enttech’s control.
  8   Friedman, 833 F.3d 1180, 1889. Kuhmstedt cannot be expected to plead facts
  9   relating to the particular roles of each defendant with respect to the creation of the
 10   infringing post or its distribution by any Doe third parties until Kuhmstedt can
 11   engage in discovery. So owing, dismissal of Kuhmstedt’s secondary claims at this
 12   early juncture would be premature.
 13       D. Kuhmstedt’s DMCA claims are adequately pled
 14          Kuhmstedt’s claims under sections 1202 of the DMCA are adequately pled.
 15   Section 1202(b) of the DMCA prohibits the “removal or alteration” of “copyright
 16   management information” (“CMI”). 17 U.S.C. § 1202(b). Section 1202(b) prohibits
 17   both the intentional removal of CMI, § 1202(b)(1), as well as the distribution of
 18   copyrighted material with knowledge3 that its CMI had been altered or removed. 17 §
 19   1202(b)(3); see also Friedman v. Live Nation, 833 F.3d 1180, 1188 (9th Cir. 2016).
 20       To state a claim under § 1202(b), Kuhmstedt must first allege that his original
 21   copyrighted work contained CMI. Imageline, Inc. v. CafePress.com, Inc. No. CV 10-
 22   9794 PSF MANX, 2011 WL 1322525, at *6 (C.D. Cal. Apr. 6, 2011). CMI, as
 23
 24   3 The Ninth Circuit has noted that “whether a party had knowledge of a particular
 25   circumstance ‘is a question of fact subject to demonstration in the usual ways,
      including inference from circumstantial evidence.’” Friedman, 833 F.3d at 1189
 26   (addressing CMI claim), citing Harrington v. Scribner, 785 F.3d 1299, 1304 (9th Cir.
 27   2015), quoting Farmer v. Brennan, 511 U.S. 825, 841-42 (1994)).

 28                                               12
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  1   defined by the DMCA, refers to the “title and other information” identifying the
  2   work, 17 U.S.C. § 1202(c)(1), or identifying the author of the work, § 1202(c)(2).
  3   Additionally, CMI includes “[i]dentifying numbers or symbols referring to such
  4   information or links to such information.” Section 1202(c)(7).
  5         Here, Kuhmstedt alleges he routinely publishes the Subject Photograph with
  6   “attribution, credit and other copyright management information identifying
  7   Kuhmstedt as the author.” Comp. ¶ 31. Given that these publications identify
  8   Kuhmstedt as the author and copyright holder of the Subject Photograph, they
  9   constitute CMI as defined by § 1202(c). Kuhmstedt’s allegations are thus sufficient to
 10   plausibly allege the existence of CMI.
 11         Then, “[t]o state a claim for removal of CMI under 17 U.S.C. § 1202(b)(1), a
 12   plaintiff must allege that a defendant: (1) without authority of the copyright owner or
 13   the law; (2) intentionally removed or altered CMI; (3) knowing or having reasonable
 14   grounds to know that the removal will induce, enable, facilitate, or conceal an
 15   infringement of the federal copyright laws.” Imageline, Inc. v. CafePress.com, Inc.,
 16   No. CV 10-9794 PSF MANX, 2011 WL 1322525, at *6 (C.D. Cal. Apr. 6, 2011).
 17         Here, Kuhmstedt alleges Enttech “removed Kuhmstedt’s [CMI] from the
 18   Subject Photograph, and/or added false copyright management information to the
 19   Subject Photograph, before distributing and publishing same to the public.” Comp. ¶
 20   32. He goes on to allege Enttech “knowingly provided and/or distributed false
 21   copyright management information in violation of 17 U.S.C. § 1202(a).” Comp. ¶ 35.
 22   Specifically, Enttech “distributed and published the Subject Photograph via websites
 23   bearing the URL(s) depicted in Exhibit B [to the Complaint], under its own name,
 24   and removing Kuhmstedt’s attribution information including without limitation his
 25   name and/or metadata.” Comp. ¶ 33. Together, these allegations support the plausible
 26   inference that Enttech removed Kuhmstedt’s CMI while knowing that such actions
 27   would “facilitate or conceal” their infringement. See Greg Young Publ’g, Inc. v. Café
 28                                              13
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  1   Press, Inc. No. CV 15-06013-MFW-AJWX, 2016 WL 6106752, at *5 (C.D. Cal. Jan.
  2   25, 2016).
  3         Kuhmstedt also states a claim under 17 U.S.C. § 1202(b)(3), under which he
  4   must allege that Enttech: “(1) without authority of the copyright owner or the law; (2)
  5   distributed works of copies of works; (3) knowing that CMI has been removed or
  6   altered.” Imageline, Inc., 2011 WL 1322525, at *6. Here, Kuhmstedt alleges that
  7   Enttech “knowingly provided and/or distributed false copyright management
  8   information,” (Comp. ¶ 35), and distributed and published the Subject Photograph
  9   “under its own name” (Comp. ¶ 33). These allegations support the inference that
 10   Enttech distributed the Subject Photograph knowing that they contained false and
 11   fraudulent CMI.
 12         In Friedman, the Ninth Circuit held that the inference of knowledge drawn
 13   from the juxtaposition of (strikingly similar) photographs was alone sufficient to
 14   raise a triable issue of material fact for purposes of § 1202(b)(3). Friedman v. Live
 15   Nation, 833 F.3d 1180, 1189 (9th Cir. 2016). The court reasoned that:
 16         How Live Nation came to possess Friedman’s photographs – and thus
 17         whether it had knowledge that the CMI had been removed – is a fact
 18         “particularly within” Live Nation’s knowledge. It would be unfair to
 19         burden Friedman at the summary judgment stage with proving that
 20         knowledge with greater specificity…
 21   Id. Enttech does not appear to dispute that it published identical copies of the Subject
 22   Photograph. This alone is sufficient to state a claim under § 1202(b)(3). As noted in
 23   Friedman, it would be “unfair” to require more at the summary judgment stage, let
 24   alone at this early juncture.
 25         Kuhmstedt has thus stated a claim for CMI removal under 17 U.S.C. § 1202.
 26   Accordingly, the Motion should be denied.
 27         E. Enttech’s conduct warrants sanctions pursuant to 28 U.S.C. § 1202
 28                                               14
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  1         Enttech’s counsel has conducted himself in an unreasonable and vexatious
  2   manner, leading to the waste of judicial resources and multiplying the proceedings.
  3         Title 28 U.S.C. § 1927 provides that “[a]ny attorney . . . who so multiplies the
  4   proceedings in any case unreasonably and vexatiously may be required by the court
  5   to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably
  6   incurred because of such conduct.” See Pac. Harbor Capital, Inc. v. Carnival Air
  7   Lines, Inc., 210 F.3d 1112, 1117 (9th Cir. 2000) (“Section 1927 authorizes the
  8   imposition of sanctions against any lawyer who wrongfully proliferates litigation
  9   proceedings once a case has commenced.”). Sanctions under § 1927 may be imposed
 10   when: (1) the attorney unreasonably multiplied the proceedings; (2) the attorney’s
 11   conduct was unreasonable and vexatious; and (3) the conduct caused an increase in
 12   the cost of the proceedings. See 28 U.S.C. § 1927; B.K.B. v. Maui Police Dep't, 276
 13   F.3d 1091, 1107 (9th Cir. 2002). For sanctions to apply under § 1927, the court must
 14   make a determination of recklessness. See Fink v. Gomez, 239 F.3d 989, 993 (9th Cir.
 15   2001) (holding that “recklessness suffices for § 1927” sanctions).
 16         In addition, federal “courts have inherent power to [enter sanctions] . . . when a
 17   party has... engaged in conduct utterly inconsistent with the orderly administration of
 18   justice.” Fjelstad v. Am. Honda Motor Co., Inc., 762 F.2d 1334, 1338 (9th Cir. 1985);
 19   see Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 (9th
 20   Cir. 1992) (“Courts are invested with inherent powers that are ‘governed not by rule
 21   or statute but by the control necessarily vested in courts to manage their own affairs
 22   so as to achieve the orderly and expeditious disposition of cases.’”). This inherent
 23   power is not limited by overlapping statutes or rules. See Chambers v. NASCO, Inc.,
 24   501 U.S. 32, 49, 111 S.Ct. 2123, 2135 (1991) (“[T]he inherent power of a court can
 25   be invoked even if procedural rules exist which sanction the same conduct.”). The
 26   court has inherent power to impose monetary sanctions when an attorney has “acted
 27
 28                                              15
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  1   in bad faith, vexatiously, wantonly, or for oppressive reasons.” Id. at 45-46, 111 S.Ct.
  2   at 2133.
  3         As discussed, supra, in section III(C), Enttech’s counsel’s meet and confer
  4   efforts amounted to little more than an effort to harass Kuhmstedt into dismissing this
  5   case without actually raising any valid deficiencies with Kuhmstedt’s Complaint. The
  6   only issues raised – the copyright registration and the statute of limitations – were
  7   readily shown to be meritless. Indeed, Enttech’s counsel knew Kuhmstedt’s
  8   allegation regarding his copyright registration had merit because he reviewed the
  9   registration that corresponded to Kuhmstedt’s pleading. Trechsel Decl. ¶2, Ex. 1. Yet
 10   he knowingly misrepresents to this Court that Kuhmstedt’s allegations are
 11   insufficient or false. Likewise, Enttech’s position regarding the statute of limitations
 12   is baseless under well-established Ninth Circuit law. Indeed, Kuhmstedt’s counsel
 13   provided applicable case law on the “discovery rule” debunking the reversed decision
 14   Enttech relied on but received nothing but personal attacks in response. Trechsel
 15   Decl. ¶3, Ex. 1.
 16         Meanwhile, Enttech’s position with respect to Kuhmstedt’s secondary liability
 17   and DMCA claims were not even discussed. Enttech’s unreasonable and reckless
 18   behavior vexatiously and unreasonably multiplied the proceedings by forcing the
 19   court to hear and rule upon frivolous issues Enttech knows to be false or meritless.
 20         Enttech’s counsel, an attorney with 17 years of experience and his own law
 21   firm, spent an inordinate amount of time harassing Kuhmstedt’s counsel, an attorney
 22   in his sixth year of practice. He sent numerous grossly unprofessional emails. When
 23   his bullying failed, he relied on a district court case that he knew (or should have
 24   known) was overturned by the Ninth Circuit and filed a motion that he knew to be
 25   precluded by binding Circuit law. In that Motion, he included arguments that were
 26   never raised during the Rule 7-3 conference. In aggregate, this wholly improper
 27   conduct resulted in a substantial and unfortunate amount of time being wasted by
 28                                               16
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  1   Kuhmstedt, his counsel, and the Court. Sanctions are warranted and Kuhmstedt
  2   respectfully requests that the Court set an Order to Show Cause re Sanctions to
  3   address this matter.4
  4         F. Kuhmstedt should be granted leave to amend
  5         Should the court find Kuhmstedt has failed to sufficiently allege any of his
  6   claims in his Complaint, he respectfully requests leave to amend his pleadings . Such
  7   leave should be granted unless “the pleading could not possibly be cured by the
  8   allegation of other facts.” Cook, Perkiss & Liehe, Inc. v. N. Cal. Collection Serv. Inc.,
  9   911 F.2d 242, 247 (9th Cir. 1990). Plaintiff has not amended his Complaint, and with
 10   the benefit of a ruling on these issues will be capable of amending in order to rectify
 11   any deficiencies identified by the court. See Loreley Fin. v. Wells Fargo Secs., LLC,
 12   797 F.3d 160, 190 (2d Cir. 2015) (“Without the benefit of a ruling, many a plaintiff
 13   will not see the necessity of amendment or be in a position to weigh the practicality
 14   and possible means of curing specific deficiencies.”). Amendment would not be futile
 15   here because Kuhmstedt can amend to clarify his allegations regarding his own
 16   publication of the Subject Photograph including when, where, and with what CMI it
 17   has had when published. Kuhmstedt can plead further facts upon which to base his
 18   allegations of use of the Subject Photograph by Enttech including greater specificity
 19   regarding Enttech’s secondary liability and CMI removal. Plaintiff’s amendments
 20   would not be futile, and is not brought with undue delay, as no party has yet
 21   answered in this action. Therefore, leave should be granted here.
 22   //
 23   //
 24
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 26   4
        As noted above, this would represent the second such Order to Show Cause in the
 27   four copyright cases handled by Tauler Smith over the last seven years.

 28                                               17
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  1      IV.    CONCLUSION
  2         Because the Complaint contains sufficient allegations to state a claim for
  3   copyright infringement, secondary liability through vicarious and contributory
  4   infringement, and violations of DMCA 17 U.S.C. § 1202 this Motion should be
  5   denied.
  6
                                              Respectfully submitted,
  7
  8   Dated: March 21, 2022            By:    /s/ Frank R. Trechsel
  9                                           Scott Alan Burroughs, Esq.
                                              Frank R. Trechsel, Esq.
 10                                           DONIGER / BURROUGHS
 11                                           Attorneys for Plaintiff

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